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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                   Plaintiff,


v.                                      ORDER
                                        Criminal File No. 05-282 (MJD/JJG)

(1) CHRISTOPHER WILLIAM SMITH
a/k/a “Chris Jonson,” a/k/a “Tony Spitalie,”
a/k/a “Bruce Jonson,” a/k/a “Robert Jonson,”

(2) PHILIP MACH,

(3) BRUCE JORDAN LIEBERMAN,

(4) DANIEL SPIVEY ADKINS, and

(5) DARRELL ARDEN GRIEPP,
a/k/a “Darrell Green,”

               Defendants.
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      The transcript of the hearing on the pretrial motions in this matter was filed

today. In accordance with the Court’s oral order on May 1, 2006, IT IS HEREBY

ORDERED:




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      1.    Defendants’ post-hearing brief is due June 23, 2006, by noon.

      2.    The Government’s response is due July 5, 2006, by noon.




Dated: June 2, 2006                         s / Michael J. Davis
                                            Judge Michael J. Davis
                                            United States District Court




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